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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref. Nos. 45, 157 & 539

      FINAL ORDER (I) AUTHORIZING THE DEBTORS TO MAINTAIN A
 CONSOLIDATED LIST OF CREDITORS IN LIEU OF SUBMITTING A SEPARATE
MATRIX FOR EACH DEBTOR, (II) AUTHORIZING THE DEBTORS TO REDACT OR
 WITHHOLD CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS AND
    PERSONAL INFORMATION OF INDIVIDUALS ON A FINAL BASIS AND
              (III) GRANTING CERTAIN RELATED RELIEF

                     Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Final Order”)

(a) authorizing the Debtors to (i) maintain the Creditor Matrix in lieu of submitting a separate

creditor matrix for each Debtor and (ii) redact or withhold certain confidential information of

customers and personal information of individuals, (b) establishing procedures for notifying the

parties of the commencement of these Chapter 11 Cases and (c) granting related relief; and this

Court having entered the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated

List of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the

Debtors to Redact or Withhold Certain Confidential Information of Customers and Personal

Information of Individuals on an Interim Basis and (III) Granting Certain Related Relief [D.I.

157]; and this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.


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1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court being able to issue a final order

consistent with Article III of the United States Constitution; and venue of these Chapter 11 Cases

and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this

matter being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that

proper and adequate notice of the Motion and the relief requested therein has been provided in

accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered

herein, no other or further notice is necessary; and objections (if any) to the Motion having been

withdrawn, resolved or overruled on the merits; and a hearing having been held to consider the

relief requested in the Motion and upon the record of the hearing and all of the proceedings had

before this Court; and this Court having found and determined that the relief set forth in this

Order is in the best interests of the Debtors, their estates, and their creditors; and that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and

after due deliberation and sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.    The Motion is GRANTED on a final basis as set forth herein.

                     2.    The requirements of Local Rules 1007(a)(2) and 2002-1(f)(v) that separate

mailing matrices be submitted for each Debtor are waived, and the Debtors are authorized to

submit a consolidated list of creditors; provided that if any of these Chapter 11 Cases converts to

a case under chapter 7 of the Bankruptcy Code, the applicable Debtor shall file its own creditor

mailing matrix.




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                     3.    The Debtors shall cause the consolidated Creditor Matrix to be made

available in readable electronic format (or in non-electronic format at such requesting party’s

sole cost and expense) upon reasonable request by parties-in-interest.

                     4.    The Debtors are authorized, on a final basis, pursuant to section 107(b)(1)

of the Bankruptcy Code, to redact the names, addresses and e-mail address of their customers

from any filings with the Court or made publicly available in these Chapter 11 Cases, provided,

however, that the authorization to redact the names of all customers, and to redact the names,

addresses and e-mail addresses of customers who are not natural persons, is only until the date

that is 90 days from the date of the entry of this Order (such date, the “Redaction Deadline”).

                     5.    The Debtors are authorized, on a final basis, to redact the addresses and e-

mail addresses of their creditors and equity holders who are natural persons from any filings with

the Court or made publicly available in these Chapter 11 Cases.

                     6.    The Debtors are authorized, on a final basis, to redact the names,

addresses and e-mail address of any creditors or equity holders who are natural persons and who

are protected by the GDPR, from any filings with the Court or made publicly available in these

Chapter 11 Cases; provided, however, that the authorization to redact the names of creditors or

equity holders who are natural persons and are protected by the GDPR is only until the

Redaction Deadline.

                     7.    The rights of the Debtors, the Official Committee of Unsecured Creditors,

and all other parties in interest to seek an extension of the Redaction Deadline, or to request

authorization to redact any personal information of customers, creditors or equity holders on any

other grounds, are reserved.




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                     8.    For the absence of doubt, the Debtors shall file unredacted versions of any

papers redacted pursuant to this Final Order under seal with the Court in accordance with the

Local Rules.

                     9.    Notwithstanding anything to the contrary in the order relating to the

retention of a claims agent, or any Local Rules or Bankruptcy Rules, the Claims and Noticing

Agent is authorized, on a final basis, to (a) suppress from the Claims Register (i) the names,

addresses and e-mail addresses of the Debtors’ customers until the Redaction Deadline, (ii) the

names, addresses and e-mail addresses of any other creditors or equity holders who are natural

persons and who are protected by the GDPR until the Redaction Deadline and (iii) the addresses

and e-mail addresses of the Debtors’ customers who are natural persons, and of other creditors or

equity holders who are natural persons, before and after the Redaction Deadline, (b) file

affidavits of service redacting the (i) the names, addresses and e-mail addresses of the Debtors’

customers until the Redaction Deadline, (ii) the names, addresses and e-mail addresses of any

other individual creditors or individual equity holders who are protected by the GDPR until the

Redaction Deadline and (iii) the addresses and e-mail addresses of the Debtors’ customers who

are natural persons, and of other creditors or equity holders who are natural persons, before and

after the Redaction Deadline, and (c) withhold publication of proofs of claims filed by customers

until the Redaction Deadline, provided that the Claims and Noticing Agent shall serve the

Debtors’ customers and creditors at their actual addresses and e-mail addresses.

                     10.   The Debtors shall refile their Consolidated Lists of Top 50 Creditors filed

at D.I. 51 and 162 without redacting the name of any creditor who was appointed by the U.S.

Trustee to the Official Committee of Unsecured Creditors, and without redacting of the address,




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e-mail address or phone numbers of any creditor who is not natural persons and was appointed

by the U.S. Trustee to the Official Committee of Unsecured Creditors.

                     11.   The Debtors shall provide an unredacted Creditor Matrix, unredacted

Consolidated Top 50 Creditor List, unredacted Schedules and Statements, an unredacted Claims

Register, unredacted affidavits of service, withheld proofs of claim, and any other filings

redacted pursuant to this Final Order, to (a) upon request, the U.S. Trustee, the U.S. Department

of Justice, counsel to the U.S. Securities and Exchange Commission, counsel to state

governmental agencies of the State of Texas, and any trustee, examiner and official committee

appointed in these Chapter 11 Cases and (b) upon further order of the Court, any other party.

                     12.   Upon request of a party in interest, the Court may, upon a showing of

good cause, release some or all of the information that is being redacted pursuant to the authority

granted by this Final Order. All parties’ rights in this regard are reserved.

                     13.   To the extent a party in interest files a document on the docket in these

Chapter 11 Cases that is required to be served on creditors whose information is under seal

pursuant to this Final Order, such party in interest should contact counsel for the Debtors who

shall work in good faith, with the assistance of their Claims and Noticing Agent, to effectuate the

service on such party’s behalf.

                     14.   Nothing in this Final Order prohibits any customer, creditor or equity

holder from voluntarily identifying itself in connection with these Chapter 11 Cases, or

voluntarily disclosing any of their contact information. In addition, nothing in this Final Order

exempts any customer, creditor or equity holder from compliance with Rule 2019 of the Federal

Rules of Bankruptcy Procedure.




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               15.     The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Final Order.

               16.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Final Order.




       Dated: January 20th, 2023                         JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE



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